    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page1 1ofof1313




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 KENO RAMSAY                                                  :
                                                              :
                                                              :   ECF CASE
                                                 Plaintiff    :
                                                              :   SECOND AMENDED AND
                            v.                                :   SUPPLEMENTAL
                                                              :   COMPLAINT
 TROY EMKE, JOSHUA REINHARDT, CHARLES                         :
 DESALVO, TYLOR HILTON, MOLLY FISCHER,                        :   23-CV-0964 (JLS)
 BRANDI LYNN CORIGLIANO, NICHOLAS LOCK,                       :
 ROBERT MOSKO, MICHAEL COLUMBAI,                              :
 HARMON KENT, JEFFREY BURRI, NICHOLAS                         :
 SUED, TIMOTHY DOWNS, JOSHUA HARRISON,                        :
 NICHOLAS MAIORANA and JASON HENDERSON                        :
                                                              :
                                             Defendants.      :


       Plaintiff Keno Ramsay, by and through his pro bono counsel, Agnew & Morrison, amends

and supplements his complaint as follows:

                                 PRELIMINARY STATEMENT

       This is a civil rights action filed by Keno Ramsay (“Mr. Ramsay” or “Plaintiff”), a severely

mentally ill incarcerated individual in the custody of the New York State Department of

Corrections and Community Supervision (“DOCCS”). Mr. Ramay is presently incarcerated at

Great Meadow Correctional Facility (“Great Meadow”). Mr. Ramsay’s claims are brought

pursuant to 42 U.S.C. § 1983 for violations of his rights secured by the Eighth Amendment to the

United States Constitution for excessive force, failure to protect, and deliberate indifference to

medical needs. DOCCS operates units in prisons defined as Regional Mental Health Units

(“RMHU”) which are operated in conjunction with the New York State Office of Mental Health

(“OMH”). Due to their severe mental health issues and relative isolation, patients housed in
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page2 2ofof1313




RMHUs suffer serious violence at the hands of correctional staff, as well as deprivations of rights

far worse than their cohort housed in general population. This lawsuit stems from the resulting

violations of federal rights suffered by Plaintiff while housed in the Five Points Correctional

Facility (“Five Points”) and Attica Correctional Facility (“Attica”) RMHUs.

                                      JURISDICTION & VENUE

        1.         This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1343(a)(3),

and 1343(a)(3).

        2.         The Western District of New York is an appropriate venue under 28 U.S.C.§ 1391

(b) (1) and (2).

                                            JURY DEMAND

        3.         Plaintiff demands a trial by jury.

                                   PARTIES and STATE ACTORS

        4.         Plaintiff Keno Ramsay (“Plaintiff” or “Mr. Ramsay”) is and was at all relevant

times a severely mentally ill individual who has been in DOCCS’ custody since June of 2021.

        5.         New York State Department of Corrections and Community Supervision

(“DOCCS”) is responsible for the care, custody, and control of incarcerated individuals in the

custody of the State of New York. DOCCS receives federal and state funding to support their

programs and services. DOCCS is sued under the ADA and Rehabilitation Act.

        6.         Defendant Troy Emke (“Defendant Emke”) is the Correctional Sergeant at Attica.

Defendant Emke is sued in his individual capacity.

        7.         Defendant Nicholas Maiorana (“Defendant Maiorana”) is a Corrections Officer

at Attica. Defendant Maiorana is sued in his individual capacity.




                                                        2
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page3 3ofof1313




       8.      Defendant Joshua Reinhardt (“Defendant Reinhardt”) is a Correctional Officer

at Attica. He is sued in his individual capacity.

       9.      Defendant Charles DeSalvo, Jr. (“Defendant DeSalvo”) is a Correctional Officer

at Attica. Defendant DeSalvo is sued in his individual capacity.

       10.     Defendant Tylor Hilton (“Defendant Hilton”) is a Correctional Officer at Attica.

Defendant Hilton is sued in his individual capacity.

       11.     Defendant Molly Fischer (“Defendant Fischer”) is a Nurse Practitioner at Five

Points. Defendant Fischer is sued in her individual capacity.

       12.     Defendant Brandi Lynn Corigliano (“Defendant Corigliano”) is a Nurse

Practitioner at Marcy Correctional Facility (“Marcy”). Defendant Corigliano is sued in her

individual capacity.

       13.     Defendant Nicholas Lock (“Defendant Lock”) is a Corrections Officer employed

by DOCCS at Five Points. Defendant Lock is sued in his individual capacity.

       14.     Defendant Robert Mosko (“Defendant Mosko”) is a Corrections Officer

employed by DOCCS at Five Points. Defendant Mosko is sued in his individual capacity.

       15.     Defendant Michael Columbai (“Defendant Columbai”) is a Corrections Officer

employed by DOCCS at Five Points. Defendant Columbai is sued in his individual capacity.

       16.     Defendant Harmon Kent (“Defendant Kent”) is a Corrections Officer employed

by DOCCS at Five Points. Defendant Kent is sued in his individual capacity.

       17.     Defendant Jeffrey Burri (“Defendant Burri”) is a Corrections Officer employed

by DOCCS at Five Points. Defendant Burri is sued in his individual capacity.

       18.     Defendant Nicholas Sued (“Defendant Sued”) is a Corrections Officer employed

by DOCCS at Five Points. Defendant Sued is sued in his individual capacity.



                                                    3
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page4 4ofof1313




       19.     Defendant Timothy Downs (“Defendant Downs”) is a Corrections Officer

employed by DOCCS at Five Points. Defendant Downs is sued in his individual capacity.

       20.     Defendant Joshua Harrison (“Defendant Harrison”) is a Corrections Officer

employed by DOCCS at Five Points. Defendant Harrison is sued in his individual capacity.

       21.     Defendant Jason Henderson (“Defendant Henderson”) is a Corrections Officer

employed by DOCCS at Five Points. Defendant Henderson is sued in his individual capacity.

                                   FACTUAL ALLEGATIONS

       22.     Plaintiff is a twenty-eight-year-old, mentally ill prisoner serving two to four years

for promoting prison contraband.

       23.     Plaintiff is often housed by DOCCS in Regional Mental Health Units (“RMHUs”)

due to his need for heightened mental health care.

       24.     Unfortunately, the RMHUs in DOCCS’ facilities – including those at Attica, Five

Points, and Marcy are infamous for the amount of excessive force used by Corrections Officers

against patients housed there.

       25.     Patients in the RMHUs suffer from a panoply of mental health issues, including

schizophrenia and other serious mental issues, which officers are not trained to identify or

consider. The patients in the RMHUs are also deemed unbelievable and uncredible given their

mental health issues. The patients’ reports of flagrant abuse and neglect are discounted by

administration.

July 14, 2021 - Failure to Protect and Excessive Force – Attica

       26.     On or about July 14, 2021, Mr. Ramsay was housed in the Attica RMHU.




                                                 4
     Case
      Case1:23-cv-00964-JLS-HKS
            1:23-cv-00964-JLS Document
                                 Document
                                       26-229 Filed
                                                Filed10/31/24
                                                      11/01/24 Page
                                                                Page5 5ofof1313




        27.      While Mr. Ramsay was in the A Block lobby waiting to go to the yard for

recreation, Defendant Emke stopped Plaintiff and pulled him from the line of prisoners. Emke put

Mr. Ramsay on the wall for a pat frisk.

        28.      Other Corrections Officers collected around Mr. Ramsay who was facing the wall

for the pat frisk. Emke stated, “this is how we like it,” and Defendant Maiorana proceeded to

sexually assault Mr. Ramsay instead of conducting a pat frisk.

        29.      Defendant Maiorana told Plaintiff not to look back and then pulled Mr. Ramsay’s

sweatshirt and t-shirt out of his pants. He then pulled Mr. Ramsay’s pants and underwear down

exposing Mr. Ramsay’s buttocks. Instead of proceeding with a normal pat frisk, Defendant

Maiorana handled Mr. Ramsay’s private parts from behind in an excessive manner exposing Mr.

Ramsay to all observers. Doe fondled Mr. Ramsay’s private parts instead of quickly swiping to

confirm the absence of contraband. Defendant Maiorana then spread Mr. Ramsay’s cheeks with

no indication that a strip frisk was being conducted nor any of the protocols that must be followed

for a strip frisk.

        30.      The observing Corrections Officer made lewd comments intending to degrade Mr.

Ramsay.

        31.      When Defendant Maiorana was finished, Mr. Ramsay asked Defendant Emke to

file a PREA complaint and Emke denied him.

July 30, 2021 - Excessive Force - Attica and Deliberate Indifference to Medical Needs

        32.      On July 30, 2021, Mr. Ramsay was removed from a disciplinary hearing at Attica

and was escorted back to his cell.

        33.      Defendant Reinhardt ordered Plaintiff against the wall and Plaintiff pulled back one

hand from the wall for 2 to 3 seconds after being ordered against the wall.



                                                  5
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page6 6ofof1313




        34.     In an inappropriate and excessive response, Defendant Reinhardt pulled Mr.

Ramsay off the wall, forced him to the ground and beat him.

        35.     Defendant Reinhardt punched Mr. Ramsay in the left eye, causing bleeding and

creating bruising around the eye. Defendant Reinhardt also kicked Mr. Ramsay while he was on

the ground. Defendant Reinhardt held Plaintiff on the ground until several other guards came and

started assaulting him as well.

        36.     Defendants placed handcuffs on Plaintiff, and he was pulled off the ground to his

feet and held in A lobby awaiting a move to the SHU.

        37.     Defendants DeSalvo and Hilton then located themselves behind Mr. Ramsay and

slammed Mr. Ramsay’s head into the wall. While they forced Mr. Ramsay’s head into the wall,

the Defendants purposefully squeezed the handcuffs into Plaintiff’s wrists cutting into the skin.

DeSalva and Hilton also bent Mr. Ramsay’s left finger breaking it.

        38.     Mr. Ramsay suffered vision issues, knee pain, pain in both shoulders, as well as a

broken finger. Eventually, he had to have surgery on his finger and hand to correct the fracture.

        39.     Mr. Ramsay sought medical attention repeatedly from his SHU location, submitting

more than 30 sick call slips. No medical provider ever came to see him.

        40.     Mr. Ramsay was eventually transferred to Marcy Correctional Facility where he

immediately reported his injuries and broken finger to Nurse DeRocco. When Mr. Ramsay was

eventually seen by Defendant Corigliano she denied Mr. Ramsay an X Ray of his hand stating that

he was “young” and would “heal on [his] own.”

        41.     Defendant Corigliano made no effort to work up Mr. Ramsay’s complaints about

his hand injury, nor to treat his pain.




                                                6
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page7 7ofof1313




        42.     On multiple occasions, Mr. Ramsay reported his pain and requested at least

diagnostic Xrays. Each time, Defendant Corigliano refused to conduct even basic diagnostic

assessments or provide him with a hand brace or pain management.

        43.     Mr. Ramsay was eventually transferred to Five Points and the care of Nurse

Practitioner Molly Fischer. Again, Mr. Ramsay reported his injuries and requested diagnostic

Xrays to assess the cause of his persistent pain and obvious hand deformity.

        44.     Defendant Fischer did not bother to order a basic Xray for ten months, despite Mr.

Ramsay’s persistent complaints of both pain and lack of diagnosis. When the Xray was finally

completed it was obvious Mr. Ramsay required surgical intervention.

        45.     Finally, on March 11, 2023, Mr. Ramsay had surgery to fix his finger – over

nineteen months after the injury.

June 29, 2022 – Excessive Force - Five Points

        46.     On or about June 29, 2022, DOCCS was housing Mr. Ramsay at the Five Points

RMHU and Defendants Mosko, Lock and Henderson were escorting him to his cell.

        47.     Upon approaching his cell, Mr. Ramsay saw that some sort of deprivation order had

been effectuated and all of his personal property had been removed from his cell: including his

mattress, sheets, clothing, and toiletries.

        48.     Mr. Ramsay, in his frustration, may have turned and seemed to try and kick

Defendant Henderson.

        49.     In response, Defendants Henderson, Lock, and Mosko pushed him into his cell

while he was still handcuffed and he fell to the floor. Because he could not brace himself with

his arms, Mr. Ramsay’s head hit the floor.




                                                7
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page8 8ofof1313




        50.    Defendants Henderson, Lock, and Mosko then entered the cell.            Defendant

Henderson grabbed Mr. Ramsay by the neck, choked him, and demanded that Mr. Ramsay “beg

for his momma.” Mr. Ramsay eventually passed out due to the lack of oxygen. When he came

to, Defendant Henderson still had his hands about Mr. Ramsay’s neck and Defendants Mosko and

Lock were punching and kicking him.

        51.    The attack caused Mr. Ramsay injury to his neck, shoulders, lower back and right

knee.

July 18, 2022 – Excessive Force – Five Points

        52.    On or about July 18, 2022, Mr. Ramsay was being held in the Five Points RMHU

and was attending programming in a class room. Mr. Ramsay’s ankle was shackled to his desk.

        53.    Defendant Columbia ordered Mr. Ramsay back to his cell to put on an exposure

suit. Exposure suits are full body jump suits which have a zipper up the back secured at the top

by a pad lock. The purpose of the suit is to deter a mentally ill inmate from exposing him or

herself, but an exposure suit must be ordered in response to aberrant behavior.

        54.    Mr. Ramsay informed Defendant Columbia that he was no longer under an

exposure suit order per Sergeant Smith.

        55.    Defendant Columbia responded, “Sergeant Smith does not run me” and ordered

Mr. Ramsay back to his cell. At that point, Sergeant Christopher Balch entered the classroom and

told Defendant Columbia that, indeed, Mr. Ramsay no longer had an exposure suit order.

        56.    Two hours later, the class supervisor told Ramsay that he was being ordered back

to his cell by Defendant Columbia. Plaintiff refused and asked to see a Lieutenant. Defendant

Columbia then grabbed Plaintiff by the ear and pulled with great force, causing Mr. Ramsay pain.

        57.    Ear pulling is not an approved form of pain compliance nor force used on prisoners.



                                                8
    Case
     Case1:23-cv-00964-JLS-HKS
           1:23-cv-00964-JLS Document
                                Document
                                      26-229 Filed
                                               Filed10/31/24
                                                     11/01/24 Page
                                                               Page9 9ofof1313




June 19, 2023 – Excessive Force – Defendants Kent and Columbai

       58.     On or about June 19, 2023, Mr. Ramsay was being held in the RMHU at Five

Points. Defendants Kent and Columbai were escorting Mr. Ramsay to another location in the

facility and Defendant Kent slammed Plaintiff’s face into the wall for no reason.

       59.     Kent then pushed Mr. Ramsay down to the floor.

       60.     Defendants Kent and Columbai kicked and punched Mr. Ramsay repeatedly while

he was on the floor.

       61.     The excessive force resulted in scarring on the left side of Plaintiff’s face as well

as swelling and bruising.

June 21, 2023 – Excessive Force – Defendants Burri, Sued, Downs and Harrison

       62.     On or about June 21, 2023, Mr. Ramsay was in the infirmary at Five Points – where

there are no cameras – and was assaulted by Defendants Burri, Sued, Downs, and Harrison as they

were supposed to be escorting him back to the RMHU.

       63.     The Defendants came to Mr. Ramsay’s holding cell in the infirmary although none

had a hand-held camera as they would for a bona fide extraction.

       64.     Defendant Burri used a key to open the door to Mr. Ramsay’s holding cell and all

four defendants rushed into the cell.

       65.     The Defendants pushed Mr. Ramsay down to the floor and started to severely beat

him. The Defendants punched and kicked Mr. Ramsay about the face, head and body.

       66.     Defendants also kicked and stomped on Mr. Ramsay’s legs and ankles.

       67.     Plaintiff repeatedly requested medical attention from the medical staff at Five

Points but was administered none.




                                                 9
   Case
    Case1:23-cv-00964-JLS-HKS
          1:23-cv-00964-JLS Document
                               Document
                                     26-229 Filed
                                              Filed10/31/24
                                                    11/01/24 Page
                                                              Page1010ofof1313




        68.     Mr. Ramsay’s injuries were so severe that over the course of the next month he lost

an excessive amount of weight due to the pain.

                                FIRST CAUSE OF ACTION
                             42 U.S.C. § 1983 – Failure to Protect
                     (Against Defendant Emke in his individual capacity)


        69.     Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully

set forth herein.

        70.     On or about July 14, 2021, Defendant Emke, a Correctional Sergeant stood by while

Defendant Maiorana sexually assaulted Plaintiff.

        71.     At all times during the assault, Defendant Emke had the opportunity and authority

to abate the assault but did not do so.

        72.     In fact, Defendant Emke pre-determined the assault by goading on Defendant

Maiorana into perpetrating the sexual assault.

                            SECOND CAUSE OF ACTION
                           42 U.S.C. § 1983 – Excessive Force
(Against Defendants Maiorana, Reinhardt, DeSalvo, Hilton, Lock, Mosco, Columbai, Kent,
            Burri, Sued, Downs and Henderson in their individual capacities)

        73.     Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully

set forth herein.

        74.     On or about July 14, 2021, Defendant Maiorana sexually assaulted Plaintiff while

deviating from pat frisk protocol, exposing Mr. Ramsay’s private parts and handling them with his

hands in an egregious and unnecessary manner.

        75.     On or about July 30, 2021, Defendants Reinhardt, DeSalvo, and Hilton were

escorting Mr. Ramsay and ordered him against the wall. When Mr. Ramsay removed a hand from




                                                 10
   Case
    Case1:23-cv-00964-JLS-HKS
          1:23-cv-00964-JLS Document
                               Document
                                     26-229 Filed
                                              Filed10/31/24
                                                    11/01/24 Page
                                                              Page1111ofof1313




the wall for mere seconds, Defendants Reinhardt, DeSalvo, and Hilton beat Mr. Ramsay causing

him a black eye, body injuries and breaking his finger.

        76.     On or about June 29, 2022, at Five Points, Defendants Henderson, Mosko and Lock

pushed Mr. Ramsay onto the floor of his cell while he was handcuffed. After he hit the floor,

Defendant Henderson choked Mr. Ramsay while telling him to “beg for his momma,” and

Defendants Mosko and Lock punched and kicked him.

        77.     On or about July 18, 2022, while Mr. Ramsay was attending programming in the

Five Points RMHU, Officer Columbia became upset when Mr. Ramsay refused to return to his

cell to put on an exposure suit. Defendant Columbia grabbed and twisted Mr. Ramsay’s ear to

cause him pain and to punish him.

        78.     On or about June 19, 2023, Defendants Columbia and Kent slammed the side of

Mr. Ramsay’s face into a wall. They then pushed him to the floor and once he was there, kicked

and punched Mr. Ramsay. The attack caused Mr. Ramsay a scar on the left side of his face,

swelling, bruising and pain.

        79.     On or about June 21, 2023, Defendants Burri, Sued, Downs, and Harrison were

supposed to escort Plaintiff from the infirmary to the RMHU. All Defendants rushed into the cell

where Mr. Ramsay was housed and began beating him all over his face and body. Mr. Ramsay

suffered bruising and injuries to his head and body. As a result of the beating and the related pain,

Mr. Ramsay lost a great deal of weight and suffered.

                               THIRD CAUSE OF ACTION
       42 U.S.C. § 1983 – Eighth Amendment – Deliberate Indifference to Medical Need
         (Against Defendants Fischer and Corigliano in their individual capacities)

        80.     Plaintiff repeats and realleges the foregoing paragraphs as if the same were fully

set forth herein.



                                                 11
   Case
    Case1:23-cv-00964-JLS-HKS
          1:23-cv-00964-JLS Document
                               Document
                                     26-229 Filed
                                              Filed10/31/24
                                                    11/01/24 Page
                                                              Page1212ofof1313




       81.     After Mr. Ramsay suffered the beating of July 21, 2021, he was transferred to

Marcy Correctional Facility’s RMHU. There Brandi Lynn Corigliano was his assigned medical

provider.

       82.     Despite Mr. Ramsay’s repeated complaints of pain and loss of function in his hand,

Ms. Corigliano refused to administer pain management or order X-rays to properly diagnose the

injury. Instead, she told him he was “young” and would “heal.” Defendant Corigliano denied Mr.

Ramsay necessary and effective medical treatment and diagnostic work up.

       83.     When Mr. Ramsay was transferred to Five Points RMU and the care of Molly

Fischer he also repeatedly asked him to conduct a simple Xray of his hand to diagnose the source

of his pain and lack of function.

       84.     Without medical justification, Defendant Fischer refused Mr. Ramsay pain

management and diagnostic work-up for ten months.

       85.     When an Xray was finally conducted, it was determined that Mr. Ramsay required

surgery on his finger. Surgery was finally performed almost two years after the original injury.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment in his favor

as follows:

       86.     Awarding compensatory and punitive damages.

       87.     Awarding Plaintiff’s reasonable attorneys’ fees, costs, disbursements, and other

litigation expenses, pursuant to 42 U.S.C. § 1988(b).

       88.     Ordering such other and further relief as the Court may deem just and proper.




                                               12
   Case
    Case1:23-cv-00964-JLS-HKS
          1:23-cv-00964-JLS Document
                               Document
                                     26-229 Filed
                                              Filed10/31/24
                                                    11/01/24 Page
                                                              Page1313ofof1313




Dated: October 31, 2024
       New York, New York

                                                          AGNEW & MORRISON


                                                                    By: /s/ AJ Agnew
                                                                   Amy Jane Agnew
                                                       Pro Bono Counsel for Plaintiff
                                                         24 Fifth Avenue, Suite 1701
                                                        New York, New York 10011
                                                                     (973) 600-1724
                                                                   aj@ajagnew.com




                                       13
